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      APPFOLIO, INC.
 7
 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
11    JEVONNA ANTOINETTE                            Case No. 8:16-cv-1070 JVS (KESx)
      TRUESDALE,
12                                                  Honorable James V. Selna, Ctrm 10C
                     Plaintiff,
13                                                  NOTICE OF SETTLEMENT
               v.                                   PURSUANT TO LOCAL
14                                                  RULE 16-15.7
      APPFOLIO, INC. AND EXPERIAN
15    INFORMATION SOLUTIONS, INC.,
16                   Defendants.
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                                   CASE NO. 8:16-CV-1070 JVS (KESX)
      35703083v.1
     Case 8:16-cv-01070-JVS-KES Document 39 Filed 11/07/16 Page 2 of 2 Page ID #:123



1     TO THE CLERK OF THE COURT AND TO ALL PARTIES AND THEIR
 2    COUNSEL OF RECORD:
 3             PLEASE TAKE NOTICE that pursuant to Local Rule 16-15.7, Plaintiff Jevonna
 4    Antoinette Truesdale and Defendant AppFolio, Inc. have settled this matter and will file a
 5    Joint Dismissal With Prejudice Pursuant To Federal Rule of Civil Procedure 4, no later
 6    than December 5, 2016.
 7
      DATED: November 7, 2016                          SEYFARTH SHAW LLP
 8
 9
                                                       By: /s/ Caitlyn M. Crisp
10                                                        Candice T. Zee
                                                          Caitlyn M. Crisp
11
                                                       Attorneys for Defendant
12                                                     APPFOLIO, INC.
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